Case 1:25-cv-00091-LM   Document 41-8   Filed 04/07/25   Page 1 of 4




            EXHIBIT E
Case 1:25-cv-00091-LM    Document 41-8        Filed 04/07/25   Page 2 of 4




                        Massachusetts
              Consolidated State Plan
Under the Every Student Succeeds Act (ESSA)
                        October 2024
               Original Plan Approved September 2017




                    U.S. Department of Education
                       OMB Number: 1810-0576
                  Expiration Date: November 30, 2019
            Case 1:25-cv-00091-LM                Document 41-8            Filed 04/07/25   Page 3 of 4




        revision of the English language arts and literacy curriculum frameworks, mathematics curriculum
        frameworks, history and social sciences curriculum frameworks, arts curriculum frameworks, and
        world languages curriculum frameworks.
  Priority 4: Increase student access to the supports they need to be successful in achieving the standards
   in the Massachusetts curriculum frameworks.
    We will advance this work under ESSA by:
    •   Implementing more effective programs to serve the students farthest behind. The Every Student
        Succeeds Act has provided us with many opportunities to improve results for student groups that
        have historically struggled to meet proficiency standards, in particular, students from low income
        backgrounds, English learners, and students receiving special education services. Through grant
        funding, prioritized access to resources, and program initiatives at the state and local levels, we will
        accelerate the improvement of our lower performing students.
    •   Implementing the next-generation Massachusetts Comprehensive Assessment System (MCAS)
        test and supporting districts as they develop common assessments. The state upgraded the MCAS
        to better measure the critical thinking skills students need for success in the 21st century. The new
        test built upon the best aspects of the MCAS assessments that have served the Commonwealth well
        for the past two decades. All tests are now administered entirely via computer, following a
        transition to online testing that began in 2017.

3) Support social-emotional learning, health, and safety
Academic and social-emotional skills and competencies are mutually reinforcing. Thus, preparing all
students for success must include attending to their social emotional and health development. We will
accomplish this by promoting systems and strategies that foster safe, positive, healthy, culturally
competent, and inclusive learning environments that address students’ varied needs in order to improve
educational outcomes for all students.

We will continue to advance this work under ESSA by:

    •   Promoting social and emotional learning (SEL). DESE will continue to promote and help strengthen
        social-emotional competencies and wellness in students and adults across the state, with the goal of
        creating conditions that support statewide implementation of SEL programs and practices in
        preschool through high school so that all students can develop skills to thrive in and beyond school.
        Participation in the Collaborating States Initiative facilitated by the Collaborative for Academic,
        Social, and Emotional Learning (CASEL), helps inform DESE practices and supports for the field.
        Examples of current initiatives include an SEL and Mental Health grant program; SEL, health &
        wellness focused professional development; and an SEL and Mental Health MTSS Academy to
        support school and district teams with learning and implementation efforts across the state. A Social
        and Emotional Learning Indicator System (SELIS) pilot project is also underway. Many DESE guidance
        documents also help further SEL goals, for instance the revised versions of the Educator
        Effectiveness Teacher and School Administrator Rubrics, Culturally Responsive Social-Emotional
        Competency Development, and Social and Emotional Learning (SEL) Grade 1–3 Resources.
    •   Ensuring a positive school climate and providing safe, healthy, and supportive learning
        environments for all students. We provide training, technical assistance, access to resources and
        guidance to schools and districts as they consider using Title IV, Part A and other sources of funds in


 Massachusetts Department of Elementary and Secondary Education – October 2024                               19
            Case 1:25-cv-00091-LM                Document 41-8            Filed 04/07/25   Page 4 of 4




        this realm. We also continue to support initiatives and resources such as the Safe and Supportive
        Schools Framework and Self-Reflection Tool, Rethinking Discipline, Bullying Prevention and
        Intervention, and Substance Use and Abuse Prevention. In addition, we encourage districts to
        increase student access to a broad, well-rounded curriculum that includes physical education (as
        required by state law in each grade) and health. DESE also partners with districts to administer
        Views of Climate and Learning (VOCAL) student surveys. The surveys and accompanying guidance
        resources are designed to provide schools with local and statewide information on student
        perceptions of three dimensions of school climate (engagement, safety, and environment).
    •   Promoting family engagement as a key lever that contributes to positive outcomes for students.
        DESE continues to provide training, technical assistance, resources, and guidance to schools and
        partners on effective family engagement strategies that promote the development of strong
        working relationships with families and appropriate community organizations to support students’
        success. Foundational resources that guide this work include the cross-agency Family Engagement
        Framework and the Family, School and Community Partnership Fundamentals Self-Assessment.
        Examples of current initiatives include collaborating with the Federation for Children with Special
        Needs and other partners on the Massachusetts Statewide Family Engagement Center, hosting the
        first annual Summit “Better Together: Strengthening Family School Partnerships” with more than
        400 participants in Fall 2022, hosting quarterly networking meetings for family and community
        engagement specialists from across the state.

4) Turn around the lowest performing districts and schools
The state’s lowest performing schools require evidence-based interventions and strong educators to support
rapid improvement in the schools' ability to prepare their students for success. Since 2010, Massachusetts
has used strong authorities codified in state law to implement a system of identification, support, and
intervention in the state’s lowest performing schools and districts. The state law emphasizes sufficient
autonomy and flexibility to empower school leadership to make key decisions regarding staffing, resources,
and schedules within a context of accountability for results. Under ESSA, we will continue to support and
partner with districts as they strive to improve underperforming schools. Where districts are unable to
implement effective improvement initiatives, we will utilize our authority under state statute to intervene.

Since passage of An Act Relative to the Achievement Gap in 2010, the Department has evolved efforts over
time to best serve students in the state’s highest need schools and districts--that is, those districts and
schools determined by the state’s accountability system as focused/targeted and broad/comprehensive
support. Since 2018, our accountability and assistance model has integrated state and federal requirements
to ensure we are focusing assistance efforts on schools identified as comprehensive and targeted support,
as well as the lowest performing 10 percent of schools and schools with low performing student groups.

The Department’s Center for School and District Partnership (CSDP) and Office of Strategic Transformation
(OST) prioritize assistance for focused/targeted and broad/comprehensive support. Assistance efforts span a
wide array of activities and levers, including direct technical assistance from Department staff and its
approved partners, grant funding, toolkits and guidance, research-based resources, and professional
development. These efforts are designed to enhance school and district capacity to effectively and
proactively use proven instructional and supportive practices to boost and sustain rapid gains in student
achievement. Direct technical assistance from DESE staff includes supporting districts to set equity-focused
priorities aimed at gap-closing, supporting the development and sustenance of school- and district-level



 Massachusetts Department of Elementary and Secondary Education – October 2024                            20
